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     In The United States Court of Federal Claims
                                            No. 07-482C

                                   (Filed: March 22, 2013)
                                         __________

  NORTHROP GRUMMAN CORPORATION,

                               Plaintiff,

                        v.

  THE UNITED STATES,

                               Defendant.


                                             __________

                                              ORDER
                                             __________

        On November 14, 2012, the court ordered the parties to file under seal copies of the
memoranda related to plaintiff’s pending motion to dismiss and ADR confidentiality issues that
previously were submitted in chambers to Judge Baskir. The court will consider the filed briefs
as part of plaintiff’s pending motion to dismiss.

       IT IS SO ORDERED.



                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
